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11

12                           UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,               No. 20-mj-1341

15              Plaintiff,                   ORDER STIPULATION RE: REVIEW/
                                             RECONSIDERATION OF ORDER
16                   v.                      SETTING CONDITIONS OF
                                             RELEASE
17   KEITH LAWRENCE MIDDLEBROOK,

18              Defendant.

19
           Having considered the parties’ stipulation, incorporated
20
     herein, and good cause appearing, the Court hereby FINDS AS FOLLOWS:
21
        1. Defendant may be released before the filing of the Affidavit of
22
           Surety with Justification by Martha Middlebrook of the $50,000
23
           bond secured by her real property.       Defendant can be released
24
           while Mrs. Middlebrook continues in her efforts to post this
25
           portion of defendant’s bond.
26
        2. The Court amends its release order and bond form so that
27
           defendant is released to the Pretrial Services Agency, under
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